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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                (NORTHERN DIVISION)


LARRY BRYANT                            *
2005 Flourmill Court
Crownsville, MD 21032                   *
on behalf of himself and
all others similarly situated           *

       and                              *

DEIDRA BRYANT                           *
2005 Flourmill Court
Crownsville, MD 21032                   *    Civil Action No. _____________________
on behalf of herself and
all others similarly situated           *

       Plaintiffs.                      *
v.
                                        *
KOPPERS, INC.
436 Seventh Ave                         *
Pittsburgh, PA 15219
                                        *
Serve on:
                                        *
       CSC Lawyers Incorporating Service
       Company,                          *
       7 St. Paul Street, Suite 820
       Baltimore, MD 21202               *

       and                              *

CULPEPER OF FEDERALSBURG, LLC           *
501 North Main Street
Culpeper, VA 22701                      *

Serve on:                               *

       David E. Rutkoski, Resident Agent *
       2000 Industrial Park
       Federalsburg, MD 21643            *

       Defendants.                      *
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            CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL

       Plaintiffs Larry Bryant and Deidra Bryant (together, the “Bryants” or “Plaintiffs”), on

behalf of themselves and on behalf of the entire class of persons similarly situated, by and through

their attorneys, Aidan F. Smith, Mark D. Maneche, and Pessin Katz Law, P.A., hereby sues

Koppers, Inc. (hereinafter “Koppers”) and Culpeper of Federalsburg, LLC (“Culpeper”) (together,

the “Defendants”).

                                           Introduction

       The Bryants had a deck constructed on their property with wood that was chemically

treated by Culpeper with chemicals that were manufactured by Koppers. The Defendants

guaranteed that the chemical treatment would prevent rot and fungus. Despite this promise from

the Defendants, the deck is now unusable due to fungus and rot, which have destroyed the deck.

       This problem is incredibly common. Koppers changed the chemical formulation for its

wood treatment in 2004. The problems with the wood are not only caused by the changed formula,

but are also caused by Culpeper using inadequate amounts of the chemical to treat the wood.

       Thousands of decks were built in the past ten years using these chemicals and the

inadequate treatment level. It is, therefore, expected that this problem is wide spread and thousands

of other decks will need to be repaired or replaced.

                                  Defendants and Jurisdiction

       1.      Defendant Koppers is a corporation duly organized under the laws of Pennsylvania

with its principal place of business in Pittsburgh, Pennsylvania. Koppers is engaged in the design,

manufacture, and sale of chemicals and chemically-treated wood, and is duly licensed to do

business in the State of Maryland and in fact does business in Maryland (i.e., the sale and/or



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manufacture of chemically-treated wood). Koppers carries on a regular business throughout the

State of Maryland.

        2.      Defendant Culpeper is a corporation duly organized under the laws of Virginia with

its principal place of business in Culpeper, Virginia. On information and belief, Culpeper is a seller

of Koppers-treated wood products and does business in Maryland. Culpeper carries on a regular

business throughout the State of Maryland.

        3.      Jurisdiction in the United States District Court for the District of Maryland is proper

under 28 U.S.C. § 1332 because the Defendant is diverse from all Plaintiffs and the amount in

controversy in this action exceeds $75,000.00.

        4.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2) because the events

giving rise to the instant claim occurred in the Northern Division of the District of Maryland.

                                       Class Representatives

        5.      Class Representative Plaintiff Lawrence Bryant is a resident of Anne Arundel

County, Maryland.

        6.      Class Representative Plaintiff Deidra Bryant is a resident of Anne Arundel County,

Maryland.

        7.      Plaintiffs Lawrence and Deidra Bryant bring this action pursuant to Federal Rule

of Civil Procedure 23 as a class action on their own behalf and on behalf of all persons similarly

situated.

                                              The Class

        8.      The members of the Plaintiff class are so numerous that their joinder is

impracticable. The size of the class exceeds 1,000 members, many of whom live in the State of

Maryland. The class is defined as all persons who:

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        (a) have decks on their property constructed with wood that has been chemically-
        treated, manufactured and/or sold by Koppers and/or Culpepper, (b) had these
        decks constructed from on or around January 1, 2004 until the present, and (c) relied
        on the Defendants’ express written warranty and Defendants’ legal duty to sell a
        product free of known or reasonably discoverable defects.

Each class member similarly has discovered that his or her deck was constructed with defectively

designed and/or manufactured wood, which was treated by Culpeper with a chemical designed and

manufactured by Koppers and this defective chemical and treatment has rendered their decks

unsafe for normal use.

                                   Maintainability of this Action

        9.      There are questions of law and/or fact that are common to the class, e.g., whether

the Defendants have breached their express warranties that the wood has been adequately treated

to extend the life of the wood and to preserve it from rot, mold, and fungi.

        10.     The claims of the Class Representative Plaintiffs are typical of and similar to the

claims of the other class members. The Class Representative Plaintiffs will fairly and adequately

represent the interests of the class.

        11.     This action is properly brought as a class action under Federal Rule 23 in that

questions of law or fact common to members of the class predominate over any questions affecting

only individual members, joinder would be impracticable, there is a risk of inconsistent or varying

adjudications amongst individual suits, and a class action is superior to other available methods

for the fair and efficient adjudication of this controversy between the class and Defendants.

                                   Desirability of a Class Action

        12.     The commonality of issues of law and fact, as well as the relatively limited liability

to each class member, substantially diminishes the interest of members of the class in individually

controlling the prosecution of separate actions. Many of the members of the class are unaware of

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their rights to prosecute a claim against the Defendants. There has been little, if any, litigation

already commenced by members of the class to determine the questions presented herein. It is

desirable that the claims be concentrated in this forum due to the fact that many witnesses reside

in the State of Maryland. This class action can be managed without undue difficulty because the

Class Representative Plaintiffs will vigorously pursue the interests of the class by virtue of the

specific damages they have incurred as a result of purchasing Defendants’ product.

                                Qualifications of Class Counsel

       13.     Counsel for the Class Representative Plaintiffs and for the proposed class, Mark D.

Maneche and Aidan F. Smith (“Class Counsel”), collectively have decades of experience handling

complex litigation matters, including class action litigation matters like this one. Class Counsel

have handled numerous class certification and class action litigation matters in Maryland state

courts, as well as in federal courts in Maryland and elsewhere. As reflected in their respective

biographies, which may be found at https://www.pklaw.com/attorneys/maneche-mark-d/ and

https://www.pklaw.com/attorneys/smith-aidan-f/, Class Counsel are well qualified to represent the

Class Representative Plaintiffs and the proposed class in this case.

                      Facts Specific to the Class Representative Plaintiffs

       14.     On or about June 27, 2007, the Class Representative Plaintiffs entered into a

contract with ProBuilt Construction, Inc. (“ProBuilt”) to build a deck on their home located at

2005 Flourmill Court, Crownsville, Maryland.

       15.     The deck was built in accordance with the contract in or about September of 2009,

and Plaintiffs paid $145,096.00 for the design, materials, and labor.




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        16.    On information and belief, the deck was constructed using pressure-treated wood,

which was treated by Culpeper with chemicals manufactured by Koppers in order to preserve the

wood from rot, mold, fungi, and the like.

        17.    In 2019, Plaintiff Deidra Bryant was walking on the deck when a support beam

gave way, causing her to fall. Fortunately, she suffered no major injuries in the accident.

        18.    After Mrs. Bryant’s fall, the Plaintiffs inspected the deck and discovered the

underlying wood joists were rotten, decayed, and caving in. On information and belief, this

condition was caused by a fungus, which rots wood from the inside out, and causes a visible white

residue on the wood. Wood that contains fungus is not a safe or stable material for a structure. If

the wood used to construct the deck had been properly treated by Cuplpeper with an appropriate

chemical manufactured by Koppers, then the fungus would not have formed on the deck and the

deck would be fit for normal use.

        19.    Due to Mrs. Bryant’s fall and subsequent inspection of the deck, it became apparent

to the Plaintiffs that the deck was no longer structurally sound for use. Plaintiffs ceased use and

enjoyment of their deck at that time due to safety concerns.

                                      COUNT I – NEGLIGENCE
                             (Class Action Claim – Against All Defendants)

        21.    Plaintiffs incorporate the above paragraphs as if fully set forth herein.

        22.    Culpeper is engaged in the design, manufacturing, treatment, and sale of

chemically-treated wood. Koppers supplies the chemicals that are used to treat chemically-treated

wood.

        23.    Defendants have a duty to design, manufacture, and sell products that are free from

any and all defects, safe for use, and fit for their intended purpose.


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        24.     Defendants breached that duty when they manufactured and/or sold a defective,

unsafe, and unfit product that was ultimately used in Plaintiffs’ deck.

        25.     In or about 2019, Plaintiffs became aware that their deck in its current condition is

permanently structurally unstable and unsafe for use due to its composition of defective pressure-

treated wood.

        26.     As a proximate result of this negligently designed and/or manufactured product,

Plaintiffs have suffered damages in excess of $75,000 insofar as their deck is unstable, unsafe, and

unusable for its intended purpose.

        WHEREFORE, Class Representative Plaintiffs Lawrence and Deidra Bryant request that

this Court certify this action as a class action and demand judgment for the Class Representative

Plaintiffs and members of the class against Defendants in an amount in excess of $75,000, plus

interest, costs and attorneys’ fees.

                        COUNT II – STRICT PRODUCTS LIABILITY
                         (Class Action Claim – Against All Defendants)

        37.     Plaintiffs incorporate the above paragraphs as if fully set forth herein.

        38.     Defendants are engaged in the design, manufacturing, treatment, and sale of

chemically-treated wood and the chemicals used to treat that wood. Defendants have a duty to

design, manufacture, and sell products that are free from defects, safe for use, and fit for their

intended purpose.

        39.     Defendants placed a defective product into the stream of commerce when they sold

the defectively designed and/or manufactured and unreasonably dangerous pressure-treated wood

and the chemicals used to treat that wood. These products were ultimately used to construct

Plaintiff’s deck.


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        40.     On information and belief, the pressure-treated wood reached the Plaintiffs’ deck

without any substantial change in its condition on the part of Plaintiffs or any other third party.

Plaintiffs have used the deck in a reasonably foreseeable and expected manner since it was built.

        41.     In 2019, Plaintiffs were made aware that their deck, in its current condition, is

permanently structurally unstable and unsafe for use due to the deterioration of the pressure-treated

wood. Continued use of the deck would risk substantial injury or death to those on or near the

structure.

        42.     As a proximate result of this defectively designed and/or manufactured product,

Plaintiffs have suffered damages in excess of $75,000 insofar as their deck is unstable, unsafe, and

unusable for its intended purpose.

        WHEREFORE, Class Representative Plaintiffs Lawrence and Deidra Bryant request that

this Court certify this action as a class action and demand judgment for the Class Representative

Plaintiffs and members of the class against Defendants in an amount in excess of $75,000, plus

interest, costs and attorneys’ fees.

                    Count III – UNFAIR OR DECEPTIVE TRADE PRACTICES
                           (Class Action Claim – Against All Defendants)

        43.     Plaintiffs incorporate the above paragraphs as if fully set forth herein.

        44.     Defendants falsely represented to consumers that the wood they treated and the

chemicals they supplied for this treatment would be “protected from . . . fungal decay.”

https://www.culpeperwood.com/wp-content/uploads/pdf/pdfmplifewoodbrochure1.28.09.pdf.

This representation was false. Defendants knew that this statement was false when it was made.

        45.     Defendants’ representation that its product would not be impacted by fungal

decay falsely deceived, had the capacity to deceive, and misled consumers by implying that the


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wood treated by or with a chemical supplied by Defendants would not be detrimentally impacted

by fungal decay.

        46.     By making these knowingly false and deceptive statements, the Defendants

violated the Maryland Consumer Protection Act, Md. Code, Commercial Law § 13-303.

        WHEREFORE, Class Representative Lawrence and Deidra Bryant request that this Court

certify this action as a class action and demand judgment for the Class Representative Plaintiffs

and members of the class against Defendants in an amount in excess of $75,000, plus interest,

costs and attorneys’ fees.

                                 DEMAND FOR JURY TRIAL

        Plaintiffs Colin and Sheila Withers assert their right under the Seventh Amendment to the

U.S. Constitution and demand, in accordance with Federal Rule of Civil Procedure 38, a trial by

jury on all issues so triable.

                                             Respectfully submitted,


                                             /s/ Mark D. Maneche
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